Case 3:24-cv-00671-ZNQ-RLS          Document 40-6       Filed 04/19/24     Page 1 of 2 PageID:
                                           276



                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY



 ANN LEWANDOWSKI, on her own behalf and             Civil Action No.: 3:24-cv-671-ZNQ-RLS
 on behalf of all others similarly situated,

               Plaintiff,
                                                    Hon. Zahid N. Quraishi
 v.                                                 Hon. Rukhsanah L. Singh

 JOHNSON AND JOHNSON, THE PENSION
 & BENEFITS COMMITTEE OF JOHNSON
 AND JOHNSON, PETER FASOLO,
 WARREN LUTHER, LISA BLAIR DAVIS,
 and DOES 1-20.

               Defendants.


 ORDER GRANTING DEFENDANTS’ MOTION TO DISMISS THE COMPLAINT AND
                    STRIKE THE JURY DEMAND

       THIS MATTER having come before the Court upon the motion of Chiesa Shahinian &

Giantomasi PC, attorneys for Johnson & Johnson (“J&J”), the Pension & Benefits Committee of

Johnson & Johnson (the “Committee”), Peter Fasolo, Warren Luther, and Lisa Blair (collectively,

“Defendants”), for an Order granting Defendants’ motion to dismiss the Class Action Complaint

filed by Plaintiff Ann Lewandowski (“Plaintiff”) in its entirety and striking the jury demand

contained therein, and on notice to Fairmark Partners, LLP, Wheeler, Diulio & Barnabei, P.C., and

Cohen Milstein Sellers & Toll PLLC, attorneys for Plaintiff Ann Lewandowski, and the Court

having considered the submissions on behalf of the parties, and the Court having heard the

arguments of counsel, and for good cause shown:

       IT IS ON THIS ______ day of _________________ 2024,

       ORDERED that Defendants’ Motion to Dismiss the Complaint and Strike the Jury

Demand is hereby GRANTED; and
Case 3:24-cv-00671-ZNQ-RLS           Document 40-6    Filed 04/19/24   Page 2 of 2 PageID:
                                            277



       ORDERED that all claims against Defendants in Plaintiff’s Class Action Complaint are

hereby dismissed with prejudice; and it is further

       ORDERED that Plaintiff’s jury demand is hereby stricken.


Dated: __________________                    _________________________________
                                             HON. ZAHID N. QURAISHI, U.S.D.J.
